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10
                               UNITED STATES DISTRICT COURT
11                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
12

13     BROIDY CAPITAL MANAGEMENT LLC                              Civil Case No.:
       and ELLIOTT BROIDY,
14                                                                2:18-CV-02421-JFW-(Ex)

15            Plaintiffs,                                         [DISCOVERY MATTER]

16                                                                JOINT STIPULATION PURSUANT
              v.
                                                                  TO LOCAL RULE 37-2
17                                                                REGARDING DEFENDANT STATE
       STATE OF QATAR, STONINGTON
18                                                                OF QATAR’S MOTION FOR
       STRATEGIES LLC, NICOLAS D.
                                                                  PROTECTIVE ORDER
19     MUZIN, GLOBAL RISK ADVISORS
       LLC, KEVIN CHALKER, DAVID MARK
20     POWELL, MOHAMMED BIN HAMAD                                 Honorable Charles F. Eick
21     BIN KHALIFA AL THANI, AHMED AL-
       RUMAIHI, and DOES 1-10,                                    Hearing Date: August 24, 2018
22                                                                Time: 9:30 a.m.
23            Defendants.                                         Amended Complaint: May 24, 2018
                                                                  Discovery Cut-Off: None Set
24                                                                Pretrial Conference Date: None Set
25                                                                Trial Date: None Set
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        JOINT STIPULATION PURSUANT TO LOCAL RULE 37-2 REGARDING DEFENDANT STATE OF QATAR’S MOTION FOR PROTECTIVE
                                                          ORDER
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 1               In accordance with Local Rule 37-2, the following is the Joint Stipulation of
 2     Defendant State of Qatar (“Qatar”); Defendants Stonington Strategies LLC and Nicolas
 3     Muzin (the “Stonington Defendants”); Defendants Global Risk Advisors and Kevin
 4     Chalker (the “GRA Defendants”); and Plaintiffs Broidy Capital Management LLC and
 5     Elliott Broidy (“Plaintiffs”) concerning Qatar’s motion to the Court for a Protective Order
 6     in this matter. A copy of the Protective Order proposed by Qatar—to which the
 7     Stonington Defendants and the GRA Defendants also consent—is attached hereto as
 8     Exhibit 1. A copy of the competing Protective Order proposed by Plaintiffs is attached
 9     hereto as Exhibit 2.
10                                LOCAL RULE 37-1 MEET AND CONFERS
11               The parties have met and conferred on the terms of a protective order on three
12     occasions. On June 12, 2018,1 the parties met and conferred to discuss the protective
13     order and another topic for approximately 30 minutes. At that meet and confer, Qatar
14     outlined the principles it viewed as necessary in any protective order—specifically, that it
15     must include both a “Confidential” and “Highly Confidential-Attorney’s Eyes Only”
16     designation; that parties should be granted the opportunity to designate information
17     produced or testimony given by anyone else in the litigation, including non-parties; and
18     that all information should be designated as “Highly Confidential-Attorney’s Eyes Only”
19     for a sufficient period in which the other parties could make designations. Qatar stated
20     that it would circulate a proposed Protective Order for the parties’ review.
21               Qatar circulated a proposed Protective Order to the parties on June 14, 2018.
22     Because Magistrate Judge Eick has not published a model Protective Order, Qatar drafted
23

24     1
        This initial meet and confer occurred one day after Judge Katherine B. Forrest of the
25     United States District Court for the Southern District of New York entered an Order on
       June 11, 2018 (the “SDNY Order”). The SDNY Order directs that all documents
26     produced by Joseph Allaham in response to a subpoena served on him by Plaintiffs shall
       be provisionally designated as “Attorney’s Eyes Only” until such a time as this Court has
27     an opportunity to rule on a more permanent protective order.
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 1     this order based on a form published by Magistrate Judge Alexander F. MacKinnon, with
 2     modifications based on other form Protective Orders in the Central District of California
 3     and other orders used by Magistrate Judge Eick, to tailor the Protective Order to this case.
 4            On June 25, 2018, the parties again met and conferred. In that meet and confer,
 5     Plaintiffs expressed the position that there should be no blanket “Highly Confidential-
 6     Attorney’s Eyes Only” designation, and there should be no ability for parties to designate
 7     materials produced by others. The parties agreed that Plaintiffs would circulate a
 8     proposed redlined draft of the Protective Order, which occurred on June 26. Qatar could
 9     not accept many of Plaintiffs’ changes, which principally removed the “Highly
10     Confidential-Attorney’s Eyes Only” category and related procedures, but returned a
11     further revised draft on July 3, making modifications to what Qatar initially proposed and
12     accepting some of Plaintiffs’ edits. Plaintiffs responded on July 5 that they could not
13     agree to any of the proposed revisions. On July 6, Plaintiffs’ counsel made clear that they
14     would agree in principle that a Highly Confidential designation could be appropriate for
15     highly sensitive diplomatic correspondence, should such correspondence ever be the
16     subject of discovery requests in this case, but also made clear that they disagreed with
17     Defendants’ assertions that Highly Confidential treatment could possibly be appropriate
18     for correspondence by and between registered and unregistered U.S. agents for Qatar.
19            On July 11, 2018, at 3:00 p.m. Pacific, the parties met and conferred on this topic
20     for a third and final time via teleconference. The portion of the teleconference relevant to
21     this motion lasted approximately 20 minutes. Mitchell Kamin, Jonathan Gimblett,
22     Neema Sahni, and Rebecca Van Tassell participated on behalf of Qatar; Lee Wolosky,
23     Robert Dwyer, and Amy Neuhardt of Boies Schiller Flexner LLP participated on behalf
24     of Plaintiffs; Stephen Obermeier of Wiley Rein LLP participated on behalf of the
25     Stonington Defendants; and Brendan McGuire and David Gringer of Wilmer Hale LLP
26     participated on behalf of the GRA Defendants. In this meet and confer, the parties
27     resolved that they could not come to an agreement as to the following points:
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 1            First, Qatar maintained that a “Highly Confidential-Attorney’s Eyes Only”
 2     category is necessary in this case, given the likelihood that Plaintiffs will request
 3     sensitive diplomatic and national security information from the Defendants and non-
 4     parties. Plaintiffs stated that such a designation was inappropriate, because they
 5     disagreed with Qatar’s interpretation of the protections afforded by the Vienna
 6     Convention, and because they believed the current discovery requests do not encompass
 7     information that could be properly designated as highly confidential.
 8            Second, Qatar maintained that it is necessary to include a mechanism by which
 9     parties may designate documents after they have been produced by other parties or non-
10     parties. Plaintiffs stated that such a mechanism was unnecessary, and that instead
11     Defendants should coordinate with each other and other producing parties to designate
12     documents before they are produced.
13            Third, Qatar stated that the scope of its proposed Protective Order was appropriate,
14     and no further duration paragraph is necessary that would expressly provide that the
15     Protective Order would not apply to trial proceedings. That scope paragraph stated in
16     relevant part as follows: “Any use of Protected Material at trial shall be governed by the
17     orders of the trial judge. This Order does not govern the use of Protected Material at
18     trial.” Exhibit 1, Section E.
19            Plaintiffs, by contrast, maintained that an additional duration paragraph from
20     Magistrate Judge MacKinnon’s form Protective Order should be included: “Once a case
21     proceeds to trial, information that was designated as CONFIDENTIAL or maintained
22     pursuant to this protective order used or introduced as an exhibit at trial becomes public
23     and will be presumptively available to all members of the public, including the press,
24     unless compelling reasons supported by specific factual findings to proceed otherwise are
25     made to the trial judge in advance of the trial.” Exhibit 2, Section F.
26            Qatar responded that such a paragraph is unnecessary at this juncture, and that the
27     trial judge should deal with the applicability of confidentiality orders at the time of trial,
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        JOINT STIPULATION PURSUANT TO LOCAL RULE 37-2 REGARDING DEFENDANT STATE OF QATAR’S MOTION FOR PROTECTIVE
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 1     with the benefit of knowing what types of documents have been produced in discovery.
 2     In light of Plaintiffs’ position that a duration paragraph from a form Protective Order was
 3     needed, Qatar said that it could accept the alternate paragraph regarding duration,
 4     included in Magistrate Judge Kewalramani’s form.
 5            Fourth, the Stonington Defendants circulated edits to Qatar’s proposed Protective
 6     Order prior to the final meet and confer, including a provision stating that “personal
 7     information such as phone or internet records” would be included in information that is
 8     “otherwise generally unavailable to the public.” At the meet and confer, Plaintiffs stated
 9     that they objected to the inclusion of this statement in the Protective Order. Qatar stated
10     that it had no objection to the Stonington Defendants’ additions, which have been
11     incorporated into Qatar’s proposed Protective Order attached as Exhibit 1.
12                                            QATAR’S POSITION
13            District courts have “broad latitude to grant protective orders to prevent disclosure
14     of materials for many types of information, including, but not limited to, trade secrets or
15     other confidential research, development, or commercial information.” Phillips ex rel.
16     Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002), citing Fed. R.
17     Civ. P. 26(c)(7). “Rule 26(c) authorizes the district court to issue ‘any order which
18     justice requires to protect a party or person from annoyance, embarrassment, oppression,
19     or undue burden.’” Id. “The Supreme Court has interpreted this language as conferring
20     ‘broad discretion on the trial court to decide when a protective order is appropriate and
21     what degree of protection is required.’” Id., citing Seattle Times Co. v. Rhinehart, 467
22     U.S. 20, 36 (1984). For good cause to exist for a particular protective order, the party
23     seeking protection must demonstrate that “specific prejudice or harm will result” without
24     the protective order, and then the court “balances the public and private interests to
25     decide” whether the protective order is necessary. Id. at 1210-11. In this matter, good
26     cause supports the entry of Qatar’s proposed Protective Order, including the provisions
27     that Plaintiffs oppose.
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 1     I.        A HIGHLY CONFIDENTIAL CATEGORY IS NECESSARY 2
 2               The Plaintiffs in this case have put at issue, and have already solicited documents
 3     and information relating to, Qatar’s diplomatic affairs, national security, and other
 4     sovereign functions. Many, if not most, of those documents are absolutely protected
 5     from disclosure entirely under the Vienna Convention, which provides that the
 6     documents of a diplomatic mission are inviolable at any time and wherever they may be, 3
 7     as is fully briefed in Qatar’s pending Motion to Stay. Dkt. 80. To the extent that any
 8     such documents have nonetheless already been produced in this litigation (for example,
 9     as part of the production by Mr. Joseph Allaham ordered by Judge Forrest of the
10     Southern District of New York 4) or will be in future, they would certainly qualify for the
11     highest possible level of confidentiality protection. Even outside of inviolable diplomatic
12     information, however, it is nearly certain that Plaintiffs will continue to seek information
13     that is highly confidential to Qatar. A mechanism for designating such documents as
14     Highly Confidential-Attorney’s Eyes Only is imperative to protect Qatar from irreparable
15     harm because the disclosure of such information to Mr. Broidy, who actively lobbies
16     against Qatar and its interests in the United States, carries extreme risk of hampering
17     Qatar’s ability to protect its interests as a foreign sovereign in the United States and
18     abroad.
19

20

21     2
         All parties agree that a “Confidential” designation is necessary in this case, which
       would prevent such documents from being disseminated to and accessed by the public.
22     As such, the dispute at issue here is not whether documents produced in discovery may
       be shielded from public disclosure, but rather whether certain documents should be
23     shielded from disclosure from other parties, including Mr. Broidy.
       3
24       As one commentator has put it, it is “clear beyond argument” that this includes
       documents “not on the premises of the mission and not in the custody of a member of the
25     mission”—i.e., documents in the hands of third parties involved in Qatar’s diplomatic
       work. Eileen Denza, Diplomatic Law: Commentary on the Vienna Convention on
26     Diplomatic Relations 158 (4th ed. 2016).
       4
         Broidy Capital Management v. Allaham, No. 18-mc-00240-KBF (S.D.N.Y.) (ECF 4).
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 1            Courts regularly extend highly confidential protection to trade secrets and sensitive
 2     financial information, but such a designation is not limited to trade secrets. Phillips, 307
 3     F.3d at 1211; see also In re The City of New York, 607 F.3d 923, 949 (2d Cir. 2010)
 4     (holding that even an Attorney’s Eyes Only designation may not be sufficient to truly
 5     protect sensitive governmental information, but that such a designation is “better than
 6     nothing”). The sensitive government information that Qatar expects to qualify for
 7     designation as Highly Confidential is even more deserving of such protection because it
 8     implicates both Qatari national security and international diplomacy. See United States v.
 9     Reynolds, 345 U.S. 1 (1953). For such highly sensitive documents, allowing access by
10     Mr. Broidy himself would be nothing more than a “vehicle for improper purposes, such
11     as the use of records to gratify private spite, promote public scandal, [or] circulate
12     libelous statements.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1179 (9th
13     Cir. 2006) (citation omitted).
14            In response to this argument, Plaintiffs posited that a Highly Confidential category
15     was unnecessary because 1) they do not agree as to the protections afforded by the
16     Vienna Convention, and 2) they subjectively do not believe that they have propounded
17     requests that call for highly confidential information. Neither of these arguments have
18     any merit.
19            Plaintiffs’ argument as to the Vienna Conventions is a red herring. Even taking
20     inviolable Vienna Convention documents (which would not be subject to the Protective
21     Order at all, as they are completely exempt from disclosure) off the table for purposes of
22     argument, the question is whether this litigation is likely to potentially cover information
23     that is highly confidential to Qatar and other parties. The FAC is littered with allegations
24     regarding a wide range of sensitive diplomatic and sovereign topics, including but not
25     limited to Qatar’s diplomatic and public relations activities in the United States, Qatar’s
26     response to global terrorism, and Qatar’s intergovernmental relationships with its
27     neighboring countries in the Gulf. See, e.g., FAC ¶¶ 26-28, 41-87. Plaintiffs’ bald
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 1     assertion that discovery in this case will never seek such highly confidential materials is
 2     simply not credible.
 3            Plaintiffs contend that they do not view any of the current document requests to
 4     solicit Highly Confidential material. Even if this were correct, it misses the point. This
 5     protective order will govern the entire case, including discovery going forward, not
 6     merely the currently-pending document requests. Indeed, a Highly Confidential
 7     designation would benefit all parties throughout the life of the case. If this case proceeds
 8     beyond a Motion to Dismiss, Plaintiffs would receive document requests regarding Mr.
 9     Broidy, his business relationships in the Gulf, and his political activities in the United
10     States. Given Mr. Broidy’s highly-publicized legal and personal troubles, and the fact
11     that this entire case is based on his allegation that he was harmed by the disclosure of his
12     sensitive and embarrassing documents, Plaintiffs themselves should recognize the benefit
13     of a Highly Confidential category.
14            Finally, Plaintiffs’ assertion that a Highly Confidential designation might be
15     abused by the parties is no reason not to have a category at all. The terms of the
16     Protective Order clearly set forth an orderly process by which Plaintiffs may challenge
17     any confidentiality designations made by Qatar, and this Court can be the ultimate arbiter
18     of whether any party is over-designating documents.
19     II.   A PROCEDURE BY WHICH PARTIES MAY DESIGNATE
             INFORMATION PROVIDED BY OTHERS IS NECESSARY IN THIS
20           CASE.
21            Qatar’s proposed Protective Order includes a term by which all material in this

22     action shall be treated as Highly Confidential for a period of twenty days from

23     production, during which time any party may designate the material under the order.

24     Exhibit 1, Section F.2. Such a provision is necessary in this case because highly

25     confidential information regarding Qatar is likely to be in the possession of other parties

26     and non-parties, including Qatar’s agents, employees, and contractors. Qatar’s ability to

27     protect these highly confidential documents should not be diminished simply because

28     another party will be producing and designating such information, and may not have the
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 1     same view as Qatar as to their sensitivity. Twenty days is a reasonably short period in
 2     which potentially sensitive information may be assessed by all parties.5
 3               Plaintiffs’ only response in objecting to this term is that the Defendants may
 4     coordinate between themselves to agree upon the appropriate designation prior to
 5     production. Although this may be possible in some instances, it would be
 6     inappropriate—and unduly burdensome on Qatar—for the Court to enter a case-wide
 7     Protective Order on an unsupported assumption that it will always be reasonably feasible
 8     for Qatar to confer with other Defendants, as well as all non-parties, prior to each
 9     production, and that producing parties will necessarily agree with Qatar’s position on the
10     sensitivity and confidentiality of those documents. Qatar needs a mechanism by which it
11     can—within a limited window of time—take action to protect the confidentiality of its
12     highly sensitive diplomatic material before irreparable dissemination occurs.6
13     III. THE DURATION TERM IN QATAR’S PROPOSED PROTECTIVE
             ORDER IS SUFFICIENT AND APPROPRIATE.
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                 The scope language in Qatar’s proposed Protective Order, Exhibit 1, Section E, is
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       reasonable, appropriate, and unambiguous. By its terms, it limits the terms of the
16
       Protective Order to pre-trial discovery, allowing the trial judge to rule on the protection
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       of confidential information at trial with the benefit of a full understanding of the
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       sensitivities attaching to the documents comprising the parties’ trial exhibits. The
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       Plaintiffs’ additional paragraph on this point would unnecessarily bind the parties to a
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       legal conclusion about the standard to be applied to the Court in making its trial orders,
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         In the July 11 meet and confer, Qatar made it clear that it was open to compromise on
23     the length of time allowed for this presumptive designation if Plaintiffs were concerned
       about the duration thereof. Plaintiffs responded that they would not be interested in any
24     presumptive period. As a further compromise, Qatar would also be willing to promptly
       confer if Plaintiffs sought to down-designate documents during the 20-day period
25     because of an imminent need to use the information in a filing or deposition.
       6
         The need for adequate confidentiality safeguards has already been illustrated in this
26     case; on July 6, 2018, the Plaintiffs filed on the public docket over 100 pages of material
       that had been designated as Attorney’s Eyes Only by the SDNY Order. See Dkt. 131.
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 1     even before any party or the Court has any idea what documents may be implicated. It is
 2     unnecessary and inappropriate to engage in such prejudgments, instead of simply leaving
 3     the assessment up to the trial court, with the benefit of context and the judge’s proper
 4     understanding of the discovery to date at that point.
 5                             STONINGTON DEFENDANTS’ POSITION
 6            The Stonington Defendants support each of the arguments advanced by the State of
 7     Qatar and the GRA Defendants and consent to Qatar’s proposed protective order. In
 8     addition, as the Stonington Defendants have explained in detail in previous filings, see
 9     Dkt. 96, Dkt. 142, highly confidential information produced by third parties in this
10     litigation—specifically, the personal phone records of Dr. Muzin—has already been
11     leaked to various members of the press. These leaks further highlight the need for a
12     highly confidential designation and adequate time for the parties to designate for
13     protection documents and information produced by third parties.
14                                    GRA DEFENDANTS’ POSITION
15            The GRA Defendants support each of the arguments advanced by the State of
16     Qatar above. The GRA Defendants further note that Plaintiffs have sought discovery
17     from the GRA Defendants and from nonparties (seeking information regarding the GRA
18     Defendants) that would require the production of sensitive personal information from the
19     GRA Defendants, their families, and their minor children. For example, Plaintiffs’
20     Request No. 22 to the GRA Defendants calls for the production of “Documents sufficient
21     to identify all electronic devices, including computers, phones, and tablets, capable of
22     sending or receiving any form of communication that you have used since May 1, 2017,
23     and all software installed on each such device.” As drafted, this Request would require
24     the individual GRA Defendants to provide documentary evidence of all software installed
25     on personal computers, cell phones, and other family electronic devices. Likewise,
26     Request 26 seeks “Any and all of your credit card billing statements depicting
27     transactions from May 1, 2017 to May 1, 2018.” This Request would require the
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 1     individual GRA Defendants to turn over all personal credit card records, including those
 2     from joint family accounts, thereby revealing all purchases—from clothes to movie
 3     tickets to groceries—the individual GRA Defendants made during this time. Similar
 4     sensitive personal information, including telephone records, has been sought through
 5     nonparty subpoenas.
 6            In addition, Plaintiffs have issued document requests that, as drafted, call for the
 7     production of trade secrets and other documents of competitive significance, not only for
 8     GRA itself, but also those of its clients. Plaintiffs’ Request 24, for example, seeks “all
 9     messages” the GRA Defendants have saved on any “encrypted or ephemeral messaging
10     service” without regard to subject matter, topic, or party.
11            The nature of the discovery Plaintiffs are seeking in this case highlights the need
12     for a highly confidential tier to be included in the Stipulated Protective Order. Hence,
13     absent the inclusion of a highly confidential tier in the Protective Order, the parties will
14     be forced to litigate before the Court confidentiality claims on a document-by-document
15     basis, burdening the Court, and substantially delaying resolution of the litigation.
16                                         PLAINTIFFS’ POSITION
17            “A party asserting good cause bears the burden, for each particular document it
18     seeks to protect, of showing that specific prejudice or harm will result if no protective
19     order is granted.” Phillips ex rel. Estates of Byrd v. General Motors Corp., 307 F.2d
20     1206 (9th Cir. 2002) (emphasis added). It is not enough to “[s]imply mention[] a general
21     category of privilege.” Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1184
22     (9th Cir. 2006). “Broad allegations of harm, unsubstantiated by specific examples or
23     articulated reasoning, do not satisfy the Rule 26(c) test.” Beckman Industries, Inc. v. Int’l
24     Ins. Co., 966 F.2d 470 (9th Cir. 1992).
25            “Blanket” protective orders require a particularly heavy burden requiring a
26     showing that disclosure will work a clearly defined and very serious injury. Foltz v. State
27     Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1131 (9th Cir. 2003.) Where, as here, the
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 1     propriety of such a blanket order is questioned, the party seeking protection must show
 2     specific harm or prejudice that it expects will arise from disclosure of any particular
 3     documents produced in discovery – whether the documents are eventually filed with the
 4     court or not. Id.
 5            This burden is particularly high in the case of blanket designations of documents as
 6     “highly confidential” or “attorneys eyes only,” as such designations have the effect of
 7     preventing a litigant from reviewing documents and assisting its counsel in preparing its
 8     case. Cf. Raymat Materials, Inc. v. A&C Catalysts, Inc., No. C 13-00567WHA, 2014
 9     WL 939976 (N.D. Cal. March 6, 2014) (awarding attorneys fees where party mass
10     designated documents as highly confidential, “install[ing] a stone-wall between defense
11     counsel and his client” and preventing defendant from participating in the defense of its
12     case); DeFazio v. Hollister, Inc., No. Civ S-04-1358 DFL GGH, 2007 WL 2580633, at
13     *2 (E.D. Cal. Sept. 5, 2007) (allowing a party to review materials designated “Attorneys’
14     Eyes Only” with its counsel where the party had “real, meaningful input to make into
15     tactical decisions,” such input would be “helpful in determining the bona fides of the
16     information submitted by” the designating party, and where the court had no reason to
17     question the party’s “integrity to adhere to [the] protective order”); Bryant v. Mattel,
18     Inc., No. CV 04 09049, C 04-09049, 2007 WL 5416684 (C.D. Cal. Feb. 6, 2007)
19     (striking “Attorneys’ Eyes Only” designation that prevented counsel from discussing the
20     opposing party’s witness list with his client).
21     I.    QATAR’S BLANKET “HIGHLY CONFIDENTIAL” DESIGNATIONS OF
             ENTIRE PRODUCTIONS OF DOCUMENTS AND ENTIRE
22           DEPOSITIONS IS PROHIBITED BY FED. R. CIV. P. 26.
23            Qatar has taken the position that every single document in the possession of third-

24     party agents (whether registered in accordance with U.S. law or not) and contractors for

25     Qatar are subject to the protections of the Vienna Convention on Diplomatic Relations

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 1     and the Vienna Convention on Consular Relations (the “Vienna Conventions”),7
 2     including such matters as pleadings in this case, publicly available news articles,
 3     messages and emails exclusively between and among U.S. persons (including U.S.
 4     persons with no disclosed agency relationship to Qatar), and supposedly sensitive
 5     diplomatic materials shared with U.S. persons who have no obvious connection with
 6     Qatar or any of the defendants in this case. They further have insisted on designating as
 7     Attorneys Eyes Only the entirety of the sole deposition in this case – that of third-party
 8     Joseph Allaham.
 9               Such a blanket designation is offensive to the First Amendment under any
10     circumstances, but is particularly so here, where not a single document produced to date
11     or page of Mr. Allaham’s deposition is properly subject to privilege. Plaintiffs have not
12     sought any discovery from Qatar or any of its officials, and have agreed not to do so until
13     after resolution of its pending motion to dismiss on grounds of sovereign immunity. 8
14     Accordingly, the only documents at issue in this litigation to date are those produced by
15     private persons and entities. The issues surrounding Qatar’s assertions that the Vienna
16     Conventions apply to such documents in this litigation have been fully briefed in
17     Plaintiffs’ opposition to Qatar’s motion to stay, Dkt. 88, and are set for hearing before the
18     Court on July 30, 2018, Dkt. 123. In brief, however, Qatar’s effort to extend the Vienna
19     Conventions has no legal support and is undermined by its own contractual relations with
20     those third parties and by the U.S. statutes and regulations applicable to its FARA-
21     registered agents:
22                   • First, nothing in the text of either Convention supports the notion that
23

24     7
         The Vienna Conventions protect only two kinds of documents, “official correspondence
       of the mission,” Vienna Convention on Diplomatic Relations art. 27.2, and “consular
25     archives and documents,” Vienna Convention on Consular Relations art. 33.
       8
26       Should discovery against Qatar commence in the future, Plaintiffs would be open to
       modification of the protective order to permit limited designations of documents as
27     Highly Confidential where Qatar’s diplomatic privileges are in fact implicated.
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 1            diplomatic privileges extend to documents that have been disclosed to individuals
 2            or entities who are not part of the diplomatic mission and have been taken out of
 3            the mission’s “archives” by such individuals. See Eileen Danza, Diplomatic Law:
 4            Commentary on the Vienna Convention on Diplomatic Relations 189 (4th ed.
 5            2016) (quoting Summary of Records of the 10th Session, [1958] 1. Y.B. Int’l L.
 6            Comm’n 143, U/N. Doc. A/CN.4/SER.A/1958) (“The phrase ‘official
 7            correspondence of the mission’ meant correspondence from the mission, that sent
 8            to the mission from its chancellery or other authorities of the sending state, and the
 9            correspondence between the mission and consulates situated in the receiving
10            state.”); Shearson Lehman Bros Inc. v. Maclaine, Watson and Co Ltd;
11            International Tin Council (Intervener) (No 2) [1988] 1 All ER 116, 124-25 (Eng.)
12            (records provided to third parties are not protected by the Vienna Convention).
13            Similarly, the inviolability of “official correspondence” within the meaning of the
14            Vienna Convention on Diplomatic Relations “is not really dealing with the
15            correspondence between the mission and the outside world; it is really dealing with
16            internal correspondence.” Investigation into Abductions of American Children to
17            Saudi Arabia: Hearing Before the H. Comm. on Govt. Reform, 107th Cong. 1326
18            (2002) (statement of Professor Eileen Denza).
19                • Second, Qatar’s own agreement with its contractors expressly recognizes
20            that any “documents, information, or communications” “received” by them are
21            subject to being disclosed “as required by law.” Dkt. 88-10. Therefore, Qatar
22            knows that documents it puts into the custody of third-party agents are not
23            “inviolable” and are subject to discovery.
24                • Third, Qatar’s long-standing business dealings with FARA agents – such as
25            those in possession of the documents produced to date – demonstrate that
26            documents it puts into the possession of third parties are not “inviolable.” FARA
27            is “a disclosure statute.” Attorney Gen. of U.S. v. Covington & Burling, 411 F.
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 1               Supp. 371, 373 (D.D.C. 1976). 22 U.S.C. § 615 requires FARA agents to keep all
 2               “records with respect to all [their] activities” while they are “agent[s] of a foreign
 3               principal,” and requires them to “open” them for inspection by “any official
 4               charged with the enforcement” of FARA. 22 U.S.C. § 615; see also Covington,
 5               411 F. Supp. at 376 (“[T]he phrase ‘books of account and other records’ includes
 6               records which would tend to reveal confidential communications between a foreign
 7               principal and its agent-attorney concerning legal matters.”).
 8     II.       A DEFAULT “HIGHLY CONFIDENTIAL” DESIGNATION FOR ALL
                 DOCUMENTS IS INAPPROPRIATE GIVEN THE NARROW RANGE OF
 9               DOCUMENTS THAT MAY PROPERLY BE CONSIDERED
                 CONFIDENTIAL IN THIS MATTER
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                 Despite the fact that Qatar has not been asked to produce a single document or sit
11
       for a single deposition, Qatar nonetheless asserts that good cause exists to require all
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       material in this action to be treated as Highly Confidential for a period of twenty days
13
       from production so that it may designate materials held by other defendants and third
14
       parties as Highly Confidential. See Qatar Section II above. As discussed above, the
15
       Vienna Conventions simply do not protect materials in the possession of third parties to a
16
       foreign mission and there thus can be no reasonable basis for imposing a blanket highly
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       confidential designation on any documents not produced by Qatar itself. 9 To the extent
18
       that documents in the possession of other defendants and third parties may contain
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       materials more properly subject to a “confidential” designation, Qatar has articulated no
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       basis for this Court to conclude that the producing party would not be equally able – if
21
       not more able – to recognize and designate the confidential nature of any documents it
22
       produces – as is the case in virtually all civil litigations concerning confidential materials.
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        Qatar has not asserted any other ground for highly confidential treatment, such as trade
       secrets.
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 1     III.   ALL TRIAL MATERIALS SHOULD BE PRESUMPTIVELY NON-
              CONFIDENTIAL, ABSENT A SPECIFIC SHOWING BY QATAR
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              It is well settled that the burden of seeking any form of protective treatment over
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       documents presented to the Court lies with the party seeking such protection, even when
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       “a court has already decided [that they] should be shielded from the public” for the
 5
       purposes of discovery. See Center for Auto Safety v. Chrysler Group, LLC, 809 F.3d
 6
       1092, 1096-97 (9th Cir. 2016). Qatar notably cites no precedent for its proposal that this
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       Court reverse that burden here and impose presumptive confidentiality over documents to
 8
       be used at trial. This Court should reject Qatar’s proposal and require Qatar to justify
 9
       sealing particular documents on an individual basis should this matter go to trial.
10

11
       Dated: August 1, 2018                              COVINGTON & BURLING LLP
12

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 1                                     SIGNATURE CERTIFICATION
 2            Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories listed, and
 3     on whose behalf the filing is submitted, concur in the filing’s content and have authorized
 4     this filing.
 5

 6

 7    DATED: August 1, 2018                         COVINGTON & BURLING LLP

 8                                                   /s/ Mitchell A. Kamin
 9                                                  Mitchell A. Kamin

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                                                          ORDER
